         Case 6:21-cv-00254-ADA Document 20 Filed 06/03/21 Page 1 of 11




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION

 VIDEOSHARE, LLC                                 §
          Plaintiff,                             §     Case No. 6:21-CV-00254-ADA
                                                 §
 v.                                              §     JURY TRIAL DEMANDED
                                                 §
 FACEBOOK, INC.,                                 §
          Defendant.                             §
                                                 §




      PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT

        Plaintiff VideoShare, LLC (“VideoShare”) files this First Amended Complaint for Patent

Infringement against Defendant Facebook, Inc. Plaintiff alleges infringement of U.S. Patent No.

10,362,341 (the “’341 Patent”) as follows:

                                           I. PARTIES

        1.     VideoShare is a Texas limited liability company with a principal place of business at

605 Austin Avenue, Suite 103, Waco, Texas 76701.

        2.     Facebook, Inc. (“Facebook”) is a Delaware corporation with a physical address at 300

West 6th Street, Austin, Texas 78701 and a principal place of business at 1601 Willow Road, Menlo

Park, California 94025.

                                       II. JURISDICTION

        3.     This action arises under the Patent Laws of the United States, 35 U.S.C. § 1 et seq.,

including 35 U.S.C. §§ 271, 281, 283, 284, and 285. This is an infringement lawsuit over which this

Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1338(a).




PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT                                  PAGE 1
          Case 6:21-cv-00254-ADA Document 20 Filed 06/03/21 Page 2 of 11




         4.     This Court has general and specific personal jurisdiction over Defendant because

Defendant is present in and transacts and conducts business in and with the residents of this District

and the State of Texas through a regional hub in Austin, Texas.

         5.     VideoShare’s causes of action arise, at least in part, from Defendant’s contacts with

and activities in this District and the State of Texas.

         6.     Defendant has committed acts of infringement by practicing the ’341 Patent within

this District and the State of Texas by making, using, selling, and/or offering for sale infringing

products and/or services without a license or permission from VideoShare. Defendant’s infringing

products and services include products and services for receiving, converting, and sharing streaming

video.

                                              III. VENUE

         7.     Venue is proper in this District as to Facebook under 28 U.S.C. §§ 1391(b) and

1400(b) because a substantial part of the events giving rise to the claim—namely the making, using,

selling, and/or offering for sale of infringing products and/or services—occurred within this District,

and Facebook has a physical place located in the District which is a regular and established place of

business belonging to Facebook. See In re Cray Inc., 871 F.3d 1355 (Fed. Cir. 2017).

         8.     Facebook maintains a regional hub in this District. Specifically, Facebook’s corporate

office in Texas is located at 300 West 6th Street, Austin, Texas 78701. Facebook actively conducts

business from this regional hub in Austin, Texas. This is a regular and established place of business

belonging to Facebook.

                                    IV. THE PATENT-IN-SUIT

         9.     The ’341 Patent, titled “Systems and methods for sharing video with advertisements

over a network,” was duly and legally issued by the U.S. Patent and Trademark Office on July 23,

2019 to Plaintiff. A true and correct copy of the ’341 Patent is attached hereto as Exhibit A.


PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT                                      PAGE 2
          Case 6:21-cv-00254-ADA Document 20 Filed 06/03/21 Page 3 of 11




         10.   The ’341 Patent was filed on January 23, 2019, and claims priority to U.S. Provisional

Patent Application No. 60/147,029, filed on August 3, 1999. More specifically, the ’341 Patent is a

continuation of U.S. Patent Application No. 15/618,304, filed on June 9, 2017 and now U.S. Patent

No. 10,225,584, which is a continuation of U.S. Patent Application No. 15/094,411, filed on April 8,

2016, which is a continuation of U.S. Patent Application No. 14/597,491, filed on January 15, 2015,

which is in turn a continuation of U.S. Patent Application No. 13/909,876, filed on June 4, 2013 and

now U.S. Patent No. 8,966,522, which in turn is a continuation of U.S. Patent Application No.

09/631,583, filed on August 3, 2000 and now U.S. Patent No. 8,464,302, which is a continuation-in-

part of U.S. Patent Application No. 09/497,587, filed on February 3, 2000, which claims priority to.

U.S. Provisional Patent Application No. 60/147,029.

         11.   Each and every claim of the ’341 Patent is valid and enforceable and enjoys a statutory

presumption of validity under 35 U.S.C. § 282.

         12.   Plaintiff is the owner of the ’341 Patent with full rights to pursue recovery of royalties

or damages for infringement of such patent, including full rights to recover past and future damages.

         13.   Facebook is not licensed to the ’341 Patent, either expressly or implicitly, nor does it

enjoy or benefit from any rights in or to the ’341 Patent whatsoever.

         A. Background of the ’341 Patent.

         14.   The inventors of the ’341 Patent are Gad Liwerant, Christopher Dodge, and Guillaume

Boissiere. VideoShare, the owner of the ’341 Patent, currently operates from its headquarters in Waco,

Texas.

         15.   Gad Liwerant studied at Harvard University, graduating with distinction in 1998.

During his studies, Mr. Liwerant took an interest in state-of-the-art graphics processing and video

systems; and by August 1998, Mr. Liwerant had created AllCam, a service which composited various

available camera feeds so that they could be viewed remotely by users in real-time. This project


PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT                                       PAGE 3
         Case 6:21-cv-00254-ADA Document 20 Filed 06/03/21 Page 4 of 11




continued to develop, eventually being renamed VideoShare in November 1999. Alongside MIT

Media Lab members Christopher Dodge and Guillaume Boissiere, Mr. Liwerant began developing

video-related software for VideoShare. The purpose of this venture was to provide the necessary

technological solutions to distribute video content to users anywhere in the world.

        16.     Streaming video was desirable for a variety of reasons during the time VideoShare

was active, including, for example, hardware limitations such as smaller hard drives, which were

quickly saturated, as well as the inability to send large files across the internet. Streaming provided a

solution to both issues because it avoided long-term storage of the full video on a user’s machine and

provided a way to send much larger files over the internet by sending the file in many discrete parts

instead of a single mass of data. These same motivations and solutions are still visible in the form of

the many cloud-based internet platforms on the market today. However, despite the clear advantages

of video streaming, certain technical hurdles remained.

        17.     The ’341 Patent addresses the problem presented by streaming video over a network

to arbitrarily distant viewers. Efforts to accomplish and improve the process of streaming video have

been underway for many years; however around 2000, at the outset of these undertakings, such ideas

were in their infancy. In particular, there were two prominent problems with streaming video to a

multitude of users: (1) uncertainty as to the destination platform and (2) limited network bandwidth.

        18.     As an example of the uncertain destination platform problem, one user may request to

view a video on their smart television, while another may request to view it on their phone, and still

another may wish to view video content on their PC or laptop. In such circumstances, the optimal

video file to send is not always available, as the mobile user may be unable to resolve the same

resolution as the laptop user, and the television’s supported encoding may not match that of the mobile

or computer users.




PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT                                       PAGE 4
         Case 6:21-cv-00254-ADA Document 20 Filed 06/03/21 Page 5 of 11




        19.     As an example of the bandwidth problem, two users may have internet connections

with vastly different speeds, such as dial-up versus a modern fiber connection. The dial-up user is

unlikely to be able to download a high-definition video with sufficient speed to smoothly play the

video on their device, forcing repeated pausing because a playback buffer must be built up before

resuming the video. The fiber user, on the other hand, can view the video in high definition with no

problems. Having only one video file in only one resolution makes it impossible to tailor the

transmitted video to the needs and capabilities of users.

        20.     In an effort to remedy these problems, Mr. Liwerant and other experts in the field of

video streaming developed processes for automatically converting video content to various formats

and storing the resulting set of files with a common identifier, a process sometimes referred to as

“transcoding.” Transcoding allows a computer system to receive a request for a video in a less

particularized form, identifying only the video and allowing the computer system to make

autonomous determinations as to the optimal playback format and/or resolution for the target device

or platform.

        21.     Mr. Liwerant noted the critical importance of conversion and file format management

to successful streaming applications as early as 1999, when the provisional application to which the

’341 Patent claims priority was filed. In its efforts to establish itself as a household streaming platform,

VideoShare continued to advance such technology and develop software in order to implement these

improvements to its own computer systems.

    B. The ’341 Patent Claims Are Directed to Improved Functionality of Streaming Server
    Systems Enabling Them to More Effectively Service a Large Number of Clients.

        22.     Prior to the ’341 Patent, no one had ever implemented an automatic transcoding

system in order to enable both automatic conversion and streaming file selection in the manner

claimed in the ’341 Patent.



PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT                                          PAGE 5
            Case 6:21-cv-00254-ADA Document 20 Filed 06/03/21 Page 6 of 11




        23.       Claim 1 of the ’341 Patent requires:

              A method for sharing video over a structured hierarchical network comprising:

              a first server system receiving a first video file in a first format from a first client via the

    structured hierarchical network;

              the first server system creating a second video file in a second format by converting at

    least

              a portion of the first video file from the first format to the second format, independent

    from receiving a command from the first client to perform such conversion;

              the first server system storing the first video file and the second video file;

              the first server system generating an identifier for video content corresponding to the first

    video file and the second video file;

              the first server system receiving a request to stream the identified video content to a second

    server system or a second client via the structured hierarchical network;

              the first server system sending the stored first video file or the stored second video file

    corresponding to the identified video content to the second server system or the second client via

    the structured hierarchical network depending on a compatibility of the second server system or

    a compatibility of the second client with the first format or the second format; and

              the first server system sending an advertisement for display with the identified video

    content sent in the stored first video file or the stored second video file.

        24.       The ’341 Patent claims a technique for sharing video over a network in which the

initially received video file is converted into another format, and the appropriate video file is chosen

on the basis of compatibility with the server or client to which the video is to be sent.




PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT                                            PAGE 6
         Case 6:21-cv-00254-ADA Document 20 Filed 06/03/21 Page 7 of 11




        25.     The claims of the ’341 Patent are directed toward a method that improves the

functionality of the computers on which they are implemented by making those computers capable

of more efficiently transferring video content to client devices. Without the functionality described in

the ’341 Patent, more bandwidth than is necessary for receipt of the video at the destination device

may be used, as in the case where the device is incapable of displaying the video in as high of

resolution as the file delivered contains. Alternatively, playback may be halting and error-prone

because the video encoding used in the file as received cannot be read as quickly as is required for a

smooth viewing experience.

        26.     When executed at an enterprise level, the claimed method of the ’341 Patent requires

specialized hardware infrastructure and is not possible on a general-purpose computer. Video

conversion is a complex and resource-intensive task even when only one file is being converted.

When the number of videos becomes large, as is the case when processing continuous uploads from

many users around the world, dedicated distributed computing systems are necessary to manage the

workload. Such systems often consist of multiple servers networked together to process individual

frames in parallel and then reassemble the resulting parts of the full transcoded file into the finalized

streaming video file.

        27.     Taken as a whole, the ’341 Patent is directed to specific methods of improving the

functionality of the computer systems used and not toward any abstract idea. The inventive concept

of converting video and selecting the most appropriate file for transmission upon request at the heart

of the ’341 Patent enables more efficient use of the specialized hardware involved in worldwide

streaming.

                         V. INFRINGEMENT OF THE ’341 PATENT

        28.     Facebook has and continues to directly infringe one or more claims of the ’341 Patent

by making, using, selling, and/or offering for sale products and/or services for receiving, converting,


PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT                                       PAGE 7
           Case 6:21-cv-00254-ADA Document 20 Filed 06/03/21 Page 8 of 11




and sharing streaming video made by practicing and by performing processes that practice the ’341

Patent, including Defendant’s products and/or services marketed as Facebook Live, Facebook Watch,

and Instagram, which are made, used, sold, or offered for sale by Facebook, as well as Facebook’s

standard video upload and streaming offerings (collectively, the “Accused Instrumentality”) in

violation of 35 U.S.C. § 271(a), as shown in Exhibit B.

       29.     For example, the Accused Instrumentality makes use of a structured hierarchical

network for sharing video by providing a platform which allows clients to stream video over the

internet from a server system including media storage, media processing, and content distribution

servers.

       30.     The Accused Instrumentality receives a first video file, for example, when it receives

an uploaded video from a client.

       31.     The Accused Instrumentality creates a second video file in a second format, for

example, when re-encoding uploaded video into multiple resolutions, bitrates, or codecs.

       32.     The Accused Instrumentality stores both the first video file and the second video file,

for example, a video that has been re-encoded is stored by Facebook so that it can be transmitted

without being re-encoded again.

       33.     The Accused Instrumentality generates a unique identifier for a stream or video which

can be used to access that content.

       34.     The Accused Instrumentality receives requests from clients, for example the Facebook

web app or mobile apps, which identify video content using a unique identifier.

       35.     The Accused Instrumentality sends the first video file or the second video file based

on a compatibility of a second server system or second client, for example, when it makes use of

adaptive bitrate streaming to determine the optimal streaming resolution.




PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT                                    PAGE 8
          Case 6:21-cv-00254-ADA Document 20 Filed 06/03/21 Page 9 of 11




         36.    The Accused Instrumentality sends an advertisement for display with the identified

video content, for example, when Facebook presents users with in-stream ads concurrently with

watching the video content, or when Facebook presents a banner ad to a user while they watch the

video.

         37.    The Accused Instrumentality selects advertisements based on the second client, for

example, when Facebook associates the second client with data about a particular user and sends

relevant advertisements to those clients.

         38.    The Accused Instrumentality stores video files for video advertisements so that it can

serve them to clients.

         39.    The Accused Instrumentality includes internet links in its advertisements, for example

when providing a URL to which the client will be redirected when the ad is clicked.

         40.    Defendant’s direct infringement of the ’341 Patent has caused substantial and

irreparable damage to Plaintiff. Plaintiff is, therefore, entitled to an award of damages adequate to

compensate for Defendant’s infringement of the ’341 Patent, but in no event less than a reasonable

royalty for Defendant’s use and/or sale of Plaintiff’s invention, together with interest and costs as

fixed by the Court under 35 U.S.C. § 284.

         41.    Plaintiff adopts, and incorporates by reference as if fully stated herein, Exhibit B,

which is a claim chart that demonstrates how the Accused Instrumentality infringes exemplary claims

of the ’341 Patent. This chart shows that Facebook infringes at least claims 1, 3, 4, 7, 6, and 7 of the

’341 Patent.

                                       VI. JURY DEMAND

         42.    Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff hereby demands a trial by

jury for all causes of action.




PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT                                      PAGE 9
         Case 6:21-cv-00254-ADA Document 20 Filed 06/03/21 Page 10 of 11




                                   VII.     PRAYER FOR RELIEF

        43.     Plaintiff requests the following relief:

        A.      A judgment that Defendant has directly infringed either literally and/or under the

doctrine of equivalents and continues to directly infringe the ’341 Patent;

        B.      A judgment and order requiring Defendant to pay Plaintiff damages, as provided by

35 U.S.C. § 284;

        C.      A judgment that this is an exceptional case within the meaning of 35 U.S.C. § 285 and

that Plaintiff is, therefore, entitled to reasonable attorneys’ fees;

        D.      A judgment and order requiring Defendant to pay Plaintiff pre-judgment and post-

judgment interest on the damages awarded;

        F.      A judgment and order awarding Plaintiff costs associated with bringing this action;

and

        H.      Such other and further relief as the Court deems just and equitable.




PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT                                  PAGE 10
        Case 6:21-cv-00254-ADA Document 20 Filed 06/03/21 Page 11 of 11




Dated: June 3, 2021                           Respectfully submitted,

                                              By: /s/ William D. Ellerman_____________
                                                  Charles L. Ainsworth (Texas 00783521)
                                                  Robert C. Bunt (Texas 00787165)
                                                  PARKER, BUNT & AINSWORTH P.C.
                                                  100 E. Ferguson Suite 418
                                                  Tyler, Texas 75702
                                                  Tel: (903) 531-3535
                                                  charley@pbatyler.com
                                                  rcbunt@pbatyler.com
                                                  Michael W. Shore (Texas 18294915)
                                                  Alfonso G. Chan (Texas 24012408)
                                                  William D. Ellerman (Texas 24007151)
                                                  Ari B. Rafilson (Texas 24060456)
                                                  Mark D. Siegmund (Texas 24117055)
                                                  SHORE CHAN LLP
                                                  901 Main Street, Suite 3300
                                                  Dallas, Texas 75202
                                                  Tel: (214) 593-9110
                                                  Fax: (214) 593-9111
                                                  mshore@shorechan.com
                                                  achan@shorechan.com
                                                  wellerman@shorechan.com
                                                  arafilson@shorechan.com
                                                  msiegmund@shorechan.com

                                                   COUNSEL FOR PLAINTIFF
                                                   VIDEOSHARE, LLC.

                                 CERTIFICATE OF SERVICE
       Pursuant to the Federal Rules of Civil Procedure and Local Rule CV-5, I hereby certify

that, on June 3, 2021, all counsel of record who have appeared in this case are being served with a

copy of the foregoing via the Court’s CM/ECF system.


                                                      /s/ William D. Ellerman
                                                      William D. Ellerman




PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT                                 PAGE 11
